
*610OPINION.
Lansdon:
The evidence shows that between 1907 and March 1, 1913, the petitioner made very substantial improvements on his farm, that it was in high state of cultivation and productivity at the basic date and that in 1911, 1912 and 1913 adjacent tracts of unimproved land were sold at prices ranging from $125 to $140 per acre. In addition to the facts proved to show increase in value from date of purchase to March 1, 1913, the petitioner relies on the opinion evidence of five witnesses — a banker, two real estate operators and two farmers — all of whom had lived in the neighborhood for many years and were familiar with the farm lands and farm land values in Dodge County. All but one of these witnesses were of the opinion that the farm in question had a value of $175 per acre or more at March 1, 1913, and the fifth witness was of the opinion that such value was from $170 to $180 per acre at that date. The respondent adduced no evidence in support of his determination.

Judgment will be entered on 10 days' notice, under Bule 50.

